                  Case 2:20-cv-00934-RSM Document 24 Filed 10/02/20 Page 1 of 3



                                                                 The Honorable Ricardo S. Martinez
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
   AMAZON.COM, INC., a Delaware corporation;
 9 and VALENTINO S.P.A., an Italian corporation,
                                                          No. 2:20-cv-00934 RSM
10
                                  Plaintiffs,             ORDER
11                                                        GRANTING UNOPPOSED
             v.                                           MOTION TO EXTEND
12                                                        DEADLINES FOR DEFENDANTS
   KAITLYN PAN GROUP, LLC f/k/a/ “JANE’S                  TO RESPOND TO COMPLAINT
13                                                        AND DEADLINES FOR RULE
   INTERNATIONAL TRADING, LLC”, a New                     26(F) CONFERENCE, INITIAL
14 York limited liability corporation; HAO PAN, an        DISCLOSURES, AND JOINT
   individual, and JOHN and/or JANE DOES 1-10,            STATUS REPORT
15
                              Defendants.
16

17           This matter having come on for consideration of Plaintiffs Amazon.com, Inc. and

18 Valentino S.p.A.’s Unopposed Motion to Extend Deadlines for Defendants to Respond to

19 Complaint and Deadlines for Rule 26(F) Conference, Initial Disclosures, and Joint Status Report

20 (the “Motion”), and for good cause shown, it is hereby ORDERED that:

21           The Motion is GRANTED. Defendants Kaitlyn Pan Group, LLC and Hao Pan shall have

22 until November 15, 2020, to respond to Plaintiffs’ Complaint. The parties shall have until: (1)

23 December 4, 2020 to confer under FRCP 26(f); (2) December 11, 2020 to serve initial

24 disclosures under FRCP 26(a)(1); and (3) December 18, 2020 to file a joint status report under

25 FRCP 26(f) and LCR 26(f).

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     ORDER GRANTING UNOPPOSED MOTION
     TO EXTEND DEADLINES - 1                                                 Davis Wright Tremaine LLP
                                                                                      L AW O FFICE S
     4839-5113-8509v.1 0051461-003279                                           920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
                                                                           206.622.3150 main · 206.757.7700 fax
               Case 2:20-cv-00934-RSM Document 24 Filed 10/02/20 Page 2 of 3




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 2           Dated this 2nd day of October, 2020.

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 6                                                  RICARDO S. MARTINEZ
                                                    CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING UNOPPOSED MOTION
     TO EXTEND DEADLINES - 2                                             Davis Wright Tremaine LLP
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               Case 2:20-cv-00934-RSM Document 24 Filed 10/02/20 Page 3 of 3




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     ORDER GRANTING UNOPPOSED MOTION
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